        Case 1:14-cv-00958-ESH Document 113-1 Filed 03/08/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                 )
                                       )
               Plaintiff,              )
                                       )
v.                                     )       Civil Action No. 14–0958 (RMC)
                                       )
NATIONAL INDIAN GAMING                 )
COMMISSION, et al.,                    )
                                       )
               Defendants.             )
                                       )

                                               ORDER

        Having considered the Plaintiff’s Consent Motion for Additional Modification of Briefing

Schedule, and the premises of this case, it is, this   day of March, 2019,

        ORDERED, that Plaintiff’s Consent Motion be, and same hereby is, GRANTED;

and it is

        FURTHER ORDERED, that the briefing schedule is hereby modified as follows:

               1. Plaintiff’s Motion for Summary Judgment shall be filed on or before

                   April 12, 2019;

               2. Defendants’ Cross Motion for Summary Judgment and Response to

                   Plaintiff’s Motion for Summary Judgment shall be filed on or before

                   May 17, 2019;

               3. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

                   and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

                   Judgment shall be filed on or before June 14, 2019; and
       Case 1:14-cv-00958-ESH Document 113-1 Filed 03/08/19 Page 2 of 2




             4. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

                    Summary Judgment shall be filed on or before July 8, 2019.




                                             ROSEMARY M. COLLYER
                                             UNITED STATES DISTRICT JUDGE



Copies to Counsel
via ECF




                                               -2-
